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                                                               DATE FILED: July 31, 2020 1:57 PM
DISTRICT COURT, CHEYENNE COUNTY,                               FILING ID: 3F3C7493EEFDF
COLORADO                                                       CASE NUMBER: 2020CV30006

Court Address: 51 E. 1st St.
               Cheyenne Wells, CO 80810
Plaintiffs:
U-HAUL INTERNATIONAL, INC., and REPWEST
INSURANCE COMPANY

v.

Defendants:
CRST INTERNATIONAL, INC., and TERRANCE
WILLIAMS.                                                         COURT USE ONLY

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                                                               Division:

                            COMPLAINT AND JURY DEMAND

       Plaintiffs Repwest Insurance Company and U-Haul International, Inc. (“Plaintiffs”),
by and through undersigned counsel, Husch Blackwell LLP, hereby submit the following
Complaint.

                          PARTIES, VENUE AND JURISDICTION

        1.      Plaintiff Repwest Insurance Company (“Repwest”) is an Arizona corporation,
with its principal place of business located at 2721 N Central Ave, Phoenix, AZ 85004. Repwest
adminsters claims for U-Haul International, Inc. (“U-Haul”).

       2.      Rena Cherrick rented a 2017 U-Haul 20-foot Moving Van and Auto Transport.
With her rental, Ms. Cherrick purchased “Safemove” and “Safetow” coverage from U-Haul,
which protects the lessee’s cargo and towed vehicle, reimburses the lessee for certain damage to
the U-Haul vehicle/equipment, and provides medical and life protection to the lessee.

        3.      U-Haul and Repwest paid monies to or on behalf of the insured, Ms. Cherrick,
related to her personal injury and the property loss and damage resulting from a vehicle collision
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involving Ms. Cherrick and Terrance Williams on November 12, 2018, in Kit Carson, Colorado
(the “Collision”).

       4.      CRST International, Inc. (“CRST”), is an Iowa corporation, with its principal
place of business at 3930 16th Avenue SW, Cedar Rapids, IA 52404.

       5.      Terrance Williams, an employee of CRST at the time of the Collision, was
driving a 2015 Freightliner Tractor Truck, owned by CRST.

       6.      The Police Report indicates that Mr. Williams is a resident of Houston, Texas.

       7.      Pursuant to C.R.C.P. 98(c), venue is proper in this Court because the Collision
occurred in Kit Carson, Colorado, in Cheyenne County.

       8.     The Court possesses personal jurisdiction over the Defendants in this case
because the Defendants’ negligence leading to the Collision, which is the subject of this lawsuit,
occurred in Colorado.

       9.      The Court possesses subject matter jurisdiction over the issues raised herein
pursuant to Article 6, Section 9 of the Constitution of the State of Colorado.

                                 GENERAL ALLEGATIONS

      10.      Ms. Cherrick rented a U-Haul 20-foot Moving Van and Auto Transport (the “U-
Haul Vehicle and Equipment”).

       11.     At the time of rental, Ms. Cherrick elected to purchase U-Haul’s Safemove and
Safetow protections.

        12.     These policies protect a lessee’s cargo and towed vehicle, reimburses the lessee
for certain damage to the U-Haul Vehicle and Equipment, and provide medical and life
protection to the lessee.

      13.      On or about November 12, 2018, at 9:30 a.m., Ms. Cherrick was driving the U-
Haul Vehicle and Equipment, and was driving through Kit Carson, Colorado, westbound on
Highway 40.

      14.      Near mile maker 445, Ms. Cherrick was attempting to turn left onto Forest St.
from Highway 40, when Mr. Williams, in his 2015 Freightliner Corp, tried to pass
Ms. Cherrick’s vehicle on the left side.

       15.      Upon information and belief, Mr. Williams was in the course and scope of his
employment at the time of the Collision, as he was driving a vehicle owned by CRST, during
business hours, for CRST’s benefit.

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       16.    Mr. Williams dangerously and recklessly drove his vehicle across the divided
highway median line and hit the right-side steps and saddle tank of Ms. Cherrick’s U-Haul
Vehicle and Equipment.

        17.   Ms. Cherrick’s U-Haul Vehicle and Equipment came to rest across the eastbound
lane of Highway 40, facing south.

      18.      Mr. Williams was cited in a police report for his careless driving, while
Ms. Cherrick did not receive any citations related to the Collision.

      19.      Ms. Cherrick was transported to the hospital in an ambulance and received
medical treatment for her significant injuries.

        20.     The U-Haul Vehicle and Equipment was severely damaged as a result of the
Collision. It was towed from the scene of the Collision. Ms. Cherrick’s personal property was
also damaged.

       21.      As a result of Mr. Williams’ dangerous and reckless driving, while in the course
and scope of his employment with CRST, Ms. Cherrick suffered personal injuries and property
damage.

        22.     Plaintiffs made payments on Ms. Cherrick’s behalf, pursuant to the relevant
protections that she purchased, in the amount of $93,491.51, including payments related to the
U-Haul Vehicle and Equipment (less salvage value), towing costs, property damage to the U-
Haul Vehicle and Equipment, damage to the cargo, med pay, and damage to Ms. Cherrick’s
towed vehicle.

                                           Count I
                              (Negligence – Defendant Williams)

       23.     Plaintiffs reallege and incorporate the foregoing allegations.

        24.    Defendant Williams had an independent duty to exercise reasonable care and
prudence in the operation of the CRST motor vehicle that he was operating at the time of the
Collision.

      25.     Defendant Williams’ conduct in passing Ms. Cherrick on the left side, while she
was making a left turn off of Highway 40 was careless and reckless.

     26.     As a direct and proximate cause of Mr. Williams’ negligent operation of the
CRST vehicle, Ms. Cherrick suffered significant personal injuries and property damage.



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        27.    As a result of Mr. Williams’ negligence, Plaintiffs are now equitably and
contractually subrogated to the rights of Ms. Cherrick to the full extent of monies paid on her
behalf, which will be proven at trial.

                                           Count II
                           (Negligence Per Se – Defendant Williams)

       28.     Plaintiffs reallege and incorporate the foregoing allegations.

        29.    Defendant Williams’ reckless, careless, and negligent driving, as averred above,
constitutes negligence per se, pursuant to C.R.S. §42-4-1402.

       30.    Mr. Williams received a citation at the time of the accident, for which, upon
information and belief, he pled guilty and paid a fine.

       31.      As a direct and proximate cause of Mr. Williams’ negligence per se, Ms. Cherrick
suffered significant personal injuries and property damage.

        32.    As a result of Mr. Williams’ negligence per se, Plaintiffs are now equitably and
contractually subrogated to the rights of Ms. Cherrick to the full extent of monies paid on her
behalf, which will be proven at trial.

                                          Count III
                               (Respondeat Superior as to CRST)

       33.     Plaintiffs reallege and incorporate the foregoing allegations.

      34.   The vehicle driven by Mr. Williams at the time of the Collision was owned by
CRST, Mr. Williams’ employer.

       35.     Mr. Williams was acting as an agent of CRST at the time of the Collision.

       36.     Mr. Williams was acting in the course and scope of his employment at the time of
the Collision as he was driving CRST’s vehicle, during working hours, for CRST’s benefit.

      37.    As a direct and proximate cause of carelessness, recklessness, and negligence by
Defendants, Ms. Cherrick suffered significant personal injuries and property damage.

      38.     As a result of the doctrine of respondeat superior, CRST is responsible for
damages and losses sustained by Ms. Cherrick and covered by Plaintiffs.

      39.     Plaintiffs are now equitably and contractually subrogated to the rights of
Ms. Cherrick to the full extent of monies paid on her behalf, which will be proven at trial.




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                                 PRAYER FOR RELIEF

     WHEREFORE, Plaintiffs pray for relief as follows:

        A. For damages in an amount to be proven at trial;

        B. For interest, costs and attorney’s fees allowable by law; and

        C. For such other and further relief as this Court deems just and proper.


                          PLAINTIFFS DEMAND TRIAL BY JURY


     Dated this 31st day of July, 2020,

                                                 HUSCH BLACKWELL LLP


                                           By:   /s/ Jamie H. Steiner
                                                 Jamie H. Steiner, #49304

                                                 Attorneys for Plaintiffs




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